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                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION AT LEXINGTON
                                CASE NO. 5:22-cv-231-DCR
                                   Electronically Filed

  EUGENE BAKER, et al.                            )
                                                  )
                  Plaintiffs,                     )
                                                  )
 v.                                               )
                                                  )
  BLACKHAWK MINING, LLC, and                      )
  PINE BRANCH MINING, LLC                         )
                                                  )
                  Defendants.                     )


      ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS WITH PREJUDICE
                   FOR FAILURE TO PARTICIPATE IN DISCOVERY
                                         **********
        This matter is before the Court on Defendants’ Motion to Dismiss with Prejudice for

 Failure to Participate in Discovery.

         Having considered the motion and being sufficiently advised, it is hereby ORDERED as

 follows:

         1. Defendants’ on Defendants’ Motion to Dismiss with Prejudice for Failure to Participate

             in Discovery is GRANTED.

         2. The claims of the following Plaintiffs are dismissed with prejudice: Cesar Henson,

             Martin Moore, Whittney Moore, Johnny Mullins, Teresa Mullins, Tabitha Patrick,

             Dana Watts, Tammy White, James Henson, Clarissa Mullins, Megan White, Bridgette

             Fugate, Diana Ortela, Burley White, Denita White, Debbie Watts, Adam White, Megan

             White, Amy Dryden, Bruce Dryden, Harold Ray White, Matthew White, and Rose

             White.

         Dated:


                                                 1
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                                                  ______________________________

                                                  Hon. Danny C. Reeves
                                                  Chief United States District Judge
                                                  United States District Court
                                                  Eastern District of Kentucky




                                        2
